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                                CIVIL MINUTES/CALENDAR
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                              COURTROOM NO. 3 - 9:30 A.M.

  MAGISTRATE JUDGE: PATRICK A. WHITE

  Case No. 17-20023-CIV-ZLOCH (13-20583-CR-ZLOCH)

  Date   6/14/18                                  END: 11:00 A.M.

  Clerk Elizabeth Rodriguez

  DAR                            COURT REPORTER         Diane Peede

  Title of Case JOSEPH AKINS OWANIKIN V. UNITED STATES



  P. Attorney(s) Randy Golder(CJA)

  D. Attorney(s) Roger Cruz (AUSA)

  Reason for Hearing: MOTION TO VACATE, SET ASIDE OR CORRECT SENTENCE



  Result of Hearing Under Advisement

  -for the Movant: Joseph Akins Owanikin sworn & testified: Direct Examination; Cross

   Examination; Re-Direct Examination

  -for the Government: Michael Spivack, AFPD sworn & testified: Direct Examination; Cross

   Examination; Re-Direct Examination

  -Closing Arguments




  Case continued to           Time          For
  Misc.
